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National Do Not Call Registry - Your Registration Is Confirmed (Eitemal) stutt/robocalls x @ Z
Verify@donotcall.gov Fri, Dec 13,2019, 5:55PM yy &
tome +

Thank you for registering your phone number with the National Do Not Call Registry. You successfully registered your phone number ending in 3341 on December 13, 2011. Most telemarketers
will be required to stop calling you 31 days from your registration date.

Visit https//www.donotcall.gov to register another number or file a complaint against someone violating the Registry.

 

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respond to inquiries.
